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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS



LAMONTE MCINTYRE, et al.,

                  Plaintiff,

v.                                                          Case No. 2:18-cv-02545-KHV-KGG

UNIFIED GOVERNMENT OF WYANDOTTE
COUNTY AND KANSAS CITY, KS, et al.,

                  Defendants.



            INDEX OF DOCUMENTS PROVIDED TO COURT FOR REVIEW
               PURSUANT TO ORDERS OF OCTOBER 18 and 26, 2022

       Plaintiffs hereby provide an index of documents produced to this Court for review

following its rulings granting in part motions by KCUR89.3 and the McClatchy Company

(publisher of the Kansas City Star) to modify the Protective Order to permit media companies to

request, and the parties to provide, documents produced during discovery and designated as

“confidential.”

       The documents have now been produced, as requested by this Court, in hard copy form

for this Court’s review. (Docs 726, 727, 732) The same documents have been produced

electronically for review by Defendants’ counsel.

       Counsel for the media companies indicated to Plaintiffs that their clients were interested

in reviewing homicide investigation files (particularly, but not solely, older unsolved cases) and

certain personnel records. Counsel for Plaintiffs has produced to this Court files that are

consistent with these expressed areas of interest. To avoid repeat trips to the Court, counsel has




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attempted to broadly anticipate the specific files or documents that may be requested and to

provide them to the Court at this time. (Docs 726, 727 and 732).

       To aid the parties and the Court, Plaintiffs file this Index of documents provided to the

Court for its review. If and when any such documents are provided to the media companies,

Plaintiffs are prepared to redact documents as necessary, as described in this Court’s orders of

October 18, 2022. (Docs. 726, 727).


 Bates Range                 Description
 FPSS 028554 - 028560        R. Golubski - FTO application
 FPSS 028607 - 028615        R. Golubski - Employment Application
 FPSS 028629 - 028655        R. Golubski - Commendations
 FPSS 028665 - 028672        Documents on R. Golubski in-custody death
 FPSS 028666 - 028675        R. Golubski - Discipline
 FPSS 028926 - 028931        R. Golubski – Jacket
 FPSS 093627                 Clyde Blood photograph
 FPSS 093628                 Steven Culp photograph
 FPSS 093629                 Dennis Ware photograph
 FPSS 093630                 James Brown photograph
 FPSS 093631                 James Krstolich photograph
 FPSS 093632                 Roger Golubski photograph
 FPSS 093633                 William K Smith photograph
 FPSS 093634 - 093684        Aaron Robinson homicide
 FPSS 093954 - 094105        Stacy Quinn homicide
 FPSS 095705 - 095717        Giglio & Brady issues 2014
 FPSS 095785                 Zeigler Materials - Brady list
 FPSS 097184 - 097186        2017 Veracity Disclosure List excerpt
 FPSS 097231 - 097233        2020 Employee Veracity Disclosure List
 FPSS 097720 - 097722        Cecil Brooks - 1995.08.07 agg kidnap - Daniel Marks
 FPSS 097732 - 097737        Cecil Brooks - 2000.10.15 kidnap - D Brown
 FPSS 098105 - 098112        Neil Edgar Jr – police reports
 FPSS 098204 - 098205        Cecil Brooks Arrest - 1992.03.17 - possession of deadly weapon
 FPSS 098221 - 098223        Cecil Brooks Arrest - 1992.09.11 - drug arrest
 FPSS 098345 - 098347        Cecil Brooks Jail Records - expungement order
 FPSS 099425 - 099459        Cecil Brooks Arrest - Ford & Burnett
 FPSS 099460 - 099537        Aaron Robinson homicide (M. Williams)
 FPSS 099538 - 099607        Stacy Quinn homicide
 FPSS 100988 - 101092        Rose Calvin homicide
 FPSS 101327 - 101507        Beatrice Russell homicide

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FPSS 101700 - 101866   Adrian Caldwell homicide
FPSS 101867 - 102101   Aderyl Caldwell and Delvin Mathews - homicides
FPSS 102817 - 103034   Warren Shields homicide
FPSS 103035 - 103192   Rhonda Tribue homicide
FPSS 103474 - 103805   Reginald Allen homicide
FPSS 103806 - 104233   Robert Diaz homicide
FPSS 104234 - 104586   Vickie Hollinshed homicide
FPSS 104760 - 104912   Tommy Benson homicide
FPSS 106043 - 106044   Neil Edgar - #3 11.17.97
FPSS 106045 - 106046   Neil Edgar - #3 11.17.97
FPSS 106047 - 106055   Neil Edgar Jr - Jail Record
FPSS 106056 - 106062   Diane Edwards homicide
FPSS 106973 - 107023   Brook and Robinson - 1995.08.07 investigation
FPSS 110395 - 110400   Rose Calvin homicide
FPSS 110401            Sandra Glover photograph
FPSS 110402 - 110407   Beatrice Russell homicide
FPSS 110408            Rhonda Tribue photograph
FPSS 110409 - 110427   Rhonda Tribue homicide
FPSS 110428            Anita Webb photograph
FPSS 110430 - 110532   Vickie Hollinshed homicide
FPSS 111464 - 111735   Pearl Davis homicide
FPSS 111736 - 111864   Sandra Glover homicide
FPSS 111865 - 112151   Sandra Glover homicide
FPSS 112152 - 112223   Monique Allen homicide
FPSS 112224 - 112374   Monique Allen homicide
FPSS 112375 - 112375   Anita Webb homicide
FPSS 112858 - 114498   Eliza Michie homicide
FPSS 114505 - 114608   Barbara Finch homicide
FPSS 114609 - 115301   Barbara Finch homicide
FPSS 115783 - 116484   Trina Harris homicide
FPSS 116489 - 117897   Pearline Henderson homicide
FPSS 119408 - 119615   Vickie Hollinshed homicide
FPSS 125902            Barbara Finch photograph
FPSS 125903            Trina Harris photograph
FPSS 125904            Pearlina Henderson photograph
FPSS 129021 - 129189   Corey Welch homicide
FPSS 129190 - 129281   Christina King homicide
FPSS 129927 - 129930   Kenneth Borg death




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Dated: October 28, 2022             Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I, Cheryl A. Pilate, hereby certify that on October 28, 2022, true and correct copies of the
foregoing document was electronically filed and served via the Court’s electronic filing system on
the following counsel of record:

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